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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

TADIEM, INC., d/b/a BENSIMON BYRNE,

                                            Plaintiff,         CORPORATE DISCLOSURE
                            v.                                  STATEMENT PURSUANT
                                                                     TO RULE 7.1
CONSTELLATION BRANDS, INC.,
                                                             Civil Action No. 19-cv-6215 (CJS)
                                          Defendant.




           Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Constellation

Brands, Inc., by its attorneys, Nixon Peabody LLP, states as follows: Constellation Brands, Inc.

has no parent corporation. No publicly held corporation owns 10% or more of its stock.



Dated: April 22, 2019                                    NIXON PEABODY LLP
       Rochester, New York
                                                    By: /s Richard A. McGuirk
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                                                         Attorneys for Constellation Brands, Inc.




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